
AFTER REMAND FROM ALABAMA SUPREME COURT
ROBERT BRADLEY, Retired Appellate Judge.
The prior judgment of this court has been reversed and the cause remanded by *46the Supreme Court of Alabama. 574 So.2d 44. Upon remand to this court, it is considered that this cause should be reversed in accordance with the opinion rendered by the supreme court on November 16, 1990, and remanded to the Juvenile Court of Lauderdale County for proceedings in accordance with the opinion of the supreme court.
The foregoing opinion was prepared by Retired Appellate Judge ROBERT BRADLEY while serving on active duty status as a judge of this court under the provisions of § 12-18-10(e), Code 1975, and this opinion is hereby adopted as that of the court.
REVERSED AND REMANDED WITH DIRECTIONS ON REMAND.
All the Judges concur.
